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                           UNITED STATES DISTRICT COURT
                                ARIZONA - PH OEN IX
                                     .June 5, 2023
 USA v. ,Jordan Dave Persad                     Case Number: CR-23-00680-001-PHX-D.JH
                                                       - ------- -  ----------

                             ORDER SETTING CONDITIONS OF RELl(ASE
                                                                                             FILED            LODGED
IZl PERSONAL Rl(COGNIZANCE
LJ AMOUNT OF BOND:
    LJ lJNSl◄:ClJRED
                                                                                           Jun 05 2023
    LJ SECURED BY:                                                                           CLERK U.S. DISTRICT COURT
                                                                                                DISTRICT OF ARIZONA
    SECURITY TO BE POSTED BY:
NEXT APPEARANCE: Sentencing, August 14, 2023 at 10:00 AM before District .Judge Humetewa
IZl 401 West Washington St., Phoenix. A/, Courtroom //605. Sixth Floor
Pursuant to 18 U.S.C. � 3 I 42(c)(l)(B), the Court may impose the following least restrictive condition(s) only as
necessary to reasonably assure the appearance of the person as required and the safety or any other person and
the community.

IT IS ORDERED that defendant is subject to the following conditions and shall:
�      promise to appear at all proceedings as required and to surrender for service or any sentence imposed.
�      not commit any federal, state or local crime.
�      cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.
�      IMMLl)IATELY advise his/her attorney and Pretrial Services. in writing. PRIOR to any change 111
       residence address. mailing address and telephone number.
LJ     maintain or actively seek employment (combination work/school) and provide proof or such to Pretrial
       Services.
LJ     not travel outside of Arizona unless PRIOR Court or Pretrial Services permission is granted to do so.
D      only travel directly to the prosecuting district, and through all states and counties between the District of
       Arizona and the prosecuting district. for Court purposes and lawyer conferences unless PRIOR Court or
       Pretrial Services permission is granted to travel elsewhere.
LJ     avoid all direct or indirect contact with persons who arc considered alleged victim(s) or potential
       witncss(es).
□      shall report as directed to the U.S. PRETRIAL SERVICI�S 1-800-769-7609 or 602-322-7350; 401 W.
       Washington St., Suite 260, Phoenix, A/ 85003.
D      not drive without a valid driver license.
LJ     execute an agreement lo forfeit the bond or designated property upon failing to appear as required:
LJ     be released to the third-party custody of: and shall reside with the third-party custodian unless Pretrial
       Services approves the defendant to reside elsewhere.
LJ      The defendant shall participate in alcohol treatment. submit to alcohol testing and make copaymcnt
       toward the cost of such services. as directed by Pretrial Services. The defendant shall not obstruct or
       attempt to obstruct or lamper. in any fashion, with the efficiency and accuracy of any substance use testing
       or monitoring.
LJ     not use or possess a narcotic drug or other controlled substance (as defined by 21 U.S.C. § 802) unless
       prescribed for the defendant by a licensed medical practitioner; this provision docs not permit the use or
       possession of medicinal marijuana even with a physician's written ccrtilication. The dcl'cndant shall not
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       possess, ingest, or otherwise use a synthetic cannabinoid or synthetic narcotic. The defendant shall
       participate in drug treatment and submit to drug testing and make copaymcnt toward the cost of such
       services as directed by Pretrial Services. The defendant shall not obstruct or attempt to obstruct or tamper,
       in any fashion, with the efficiency and accuracy of any substance use testing or monitoring.
LJ     surrender all travel documents to Pretrial Services by and shall not obtain a passport or other travel
       document during the pcndcncy or these proceedings.

IZl    not obtain a passport or other travel documents during the pcndcncy or these proceedings.

D      maintain or commence an educational program and provide proof of such to Pretrial Services.
D      not possess or attempt to acquire any firearm, destructive device, or other dangerous weapon or
       ammunition.
D      abide by specified restrictions on personal associations, place or abode or travel.
�      maintain weekly contact with his/her attorney by Friday, noon of each week.
LJ     timely pay his/her monthly child support payments as previously ordered by the subject state court in the
       total amount of: $.
D      not obtain any new financial accounts without prior notification and approval of Pretrial Services.
[J     participate in a mental health treatment program and comply with all the treatment requirements including
       taking all medication prescribed by the mental health care provider and make a copaymcnt toward the cost
       or such services as directed by Pretrial Services.
D      resolve all pending lower court matters and provide proof of such to Pretrial Services.
D      participate in a Specialized Treatment Program and comply with all treatment requirements including
       taking all medications prescribed by a physician/psychiatrist and make a copaymcnt toward the cost of
       services as directed by Pretrial Services.
D      register as a sex offender in compliance with all federal, state, tribal or local laws or as ordered by the
       court. Failure to comply with registration laws may result in new criminal charges.
IZl    report to the United States Marshal's Service Office at 401 W. Washington St.. Phoenix, AZ 85003 for
       proccssmg.


                                ADVICE OF PENALTIES AND SANCTIONS
        Violating any of the foregoing conditions of release may result in the immediate issuance or a warrant for
your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for
contempt of court and could result in imprisonment, a fine, or both.
        While on release, if you commit a federal felony offense the punishment is an additional prison term of
not more than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not
more than one year. This sentence will be consecutive (i.e., in addition) to any other sentence you receive.
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim,
or informant: or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The
penalties for tampering, retaliation, or intimidation arc significantly more serious if they involve a killing or
attempted killing.
        IL alter release, you knowingly fail to appear as the conditions of release require, or to surrender to serve
a sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed.
If you arc convicted of:
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       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
       - you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -
       you will be fined not more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years,
       or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or
       both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other
sentence you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.
                                         Acknowledgment of Defendant
      I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I
promise to obey all conditions of release, to appear as directed, and to surrender for service of any sentence
imposed. I am aware of the penalties and sanctions set forth above.
    IA                            SI
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        Custodian agrees to (a) supervise the defendant in accordance with all conditions of release, (b) to use
every effort to assure the appearance of the defendant at all scheduled court proceedings, and to notify the court
immediately in the event the defendant violates any condition of release or disappears. We, the undersigned, have
read and understand the terms of this bond and conditions of release and acknowledge that we arc bound by it
until duly exonerated.
  SIGNATURE OF CUSTODIAN(S)



Directions to United States Marshal:
IZI The defendant is ORDERED released after processing.
D The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
  that the defendant has posted bond and/or complied with all other conditions for release. If still in custody,
  the defendant must be produced before the appropriate judge at the time and place specified.
The U.S. Marshal is directed to bring the defendant bag and baggage to the Courthouse on for release
from the U.S. Marshals Service office at 8:30 a.m.


Dated this 5th day of June, 2023.



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                                                                               United States Magistrate Judge
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USA, PTS/PROB, USM, DEFT, DEFT ATTY
